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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION

   Godo Kaisha IP Bridge 1,                             §
                                                        §
         v.                                             §
                                                                 Case No. 2:16-CV-134-JRG-RSP
                                                        §
   Broadcom Limited et al                               §
                                                        §


                                                 ORDER

         Before the Court are various discovery motions filed by the parties. The Court rules as follows:

              1. Plaintiff’s Motion to Compel Defendants to Produce Sales and Distribution
                 Agreements and Related Documents, Financial Information, Patent License
                 Agreements, and Samples of the Accused Products (Dkt. No. 113) is CARRIED.

              2. Defendants’ Motion to Enforce the Court’s Docket Control Order and Strike Plaintiff’s
                 Improper New Infringement Contentions (Dkt. No. 151) is DENIED for the reasons
                 stated at the March 23, 2017 hearing.

              3. Defendant’s Motion to Expedite Briefing (Dkt. No. 153) is DENIED AS MOOT.

              4. Plaintiff’s Emergency Motion to Compel Defendants to Produce Witnesses,
                 Interrogatory Responses, and Documents (Dkt. No. 155) is GRANTED IN PART. As
                 to the Broadcom v. Emulex documents (damages expert reports, motions
                 challenging the damages expert opinions, and any corresponding sealed Orders),
                 the motion is GRANTED. As to the remainder of the requested relief, the motion
                 is DENIED.

              5. Plaintiff’s Emergency Motion to Enforce the Court’s December 19, 2016 Order and
                 for Sanctions Pursuant to Rule 37(b)(2) (Dkt. No. 156) is GRANTED IN PART.

                 Regarding document production, Broadcom never asserts that it has in fact complied
                 with the Court’s Order, only that it has produced documents in accordance with the
                 Court’s Order. This representation leaves open the possibility that Broadcom has only
                 partially complied with the Court’s Order, which is unsatisfactory. While the Court
                 does not doubt that Broadcom has produced thousands of files in compliance with the
                 Court’s prior Order, its briefing falls short of representing that it has complied with the
                 Court’s prior Order regarding production. If Broadcom has no additional documents
                 responsive to the categories of documents Plaintiff describes in its motion, Dkt. No.
                 156, then it should file a notice with the Court explaining in sufficient detail that no
                 such documents exist.
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               Regarding interrogatory responses, the Court finds that Defendants invocation of Rule
               33(d) is not well-taken. The burden of “deriving or ascertaining the answer” to the
               interrogatories is not substantially the same for Plaintiff as it is for Defendants.
               Defendants are ORDERED to provide complete responses no later than April 15,
               2017.

               Regarding the GDS files and sanctions, Plaintiff’s Motion is DENIED.

           6. Plaintiff’s Emergency Motion to Expedite Briefing on Plaintiff’s Emergency Motion
              to Enforce (Dkt. No. 157) is DENIED AS MOOT.

           7. Broadcom’s Motion to Compel (Dkt. No. 168) is DENIED. The Court finds that IP
              Bridge does not control Panasonic (or vice-versa) and that they are not sufficiently
              related parties. While Panasonic has a financial interest as an investor in IP Bridge’s
              business, that fact alone does not mean that the documents Panasonic possesses are
              within the custody or control of IP Bridge. The Court concludes that, on the whole, IP
              Bridge does not have the practical ability to obtain the requested documents. Panasonic
              is an investor in IP Bridge, and it does not have a closer financial relationship with IP
              Bridge which would suggest control; IP Bridge and Panasonic do not exchange
              documents in the ordinary course of business; and Panasonic has not participated in
              this litigation.

           8. Plaintiff’s Motion for Hearing (Dkt. No. 190) is DENIED AS MOOT.

              Apr 4, 2017




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